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 5   Attorney for Defendant
     JEREMY MICHAEL HEAD
 6
 7                                IN THE UNITED STATES DISTRICT COURT
 8                              FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                       )   NO. 2:08-cr-00093 KJM
10                                                   )
                           Plaintiff,                )   APPLICATION FOR TRANSPORTATION
11                                                   )   ORDER; ORDER
            v.                                       )
12                                                   )   PURSUANT TO 18 U.S.C. 4285
     JEREMY MICHAEL HEAD,                            )
13                                                   )
                                                     )
14                     Defendant.                    )
     _______________________________
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16
     Procedural History
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            In this matter, defendant Jeremy Michael Head is scheduled for a hearing on November 9, 2011 at
18   1:30 p.m. concerning the disposition of Mr. Head’s motion to dismiss based on a violation of the Speedy
19   Trial Act. Mr. Head is indigent.
20   Application
21          Application is hereby made for an Order for Transportation and subsistence for defendant Jeremy
22   Michael Head to enable him to attend his hearing in the above-referenced matters scheduled for November
23   9, 2011 at 1:30 p.m. before the Honorable Kimberly J. Mueller.
24          Mr. Head has advised counsel that he is unable to afford travel and is requesting that transportation
25   be arranged for his one-way travel from Los Angeles, California to Sacramento, California on November 7,
26   2011 so that he may confer with counsel after his arrival and before the date of the hearing. Mr. Head is

27   requesting that transportation be arranged for his one-way travel from Sacramento, California to Los

28   Angeles, California following his hearing on November 10, 2011.
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        Wherefore, in the interests of justice, the Court is requested to arrange for Mr. Jeremy Michael Head’s
 2
     means of noncustodial transportation or furnish the fare for such transportation to the place where his
 3
     appearance is required; and in addition to direct the United States Marshal to furnish Mr. Jeremy Michael
 4   Head with an amount of money for subsistence expenses, not to exceed the amount authorized as a per
 5   diem allowance for travel under Section 5702(a) of Title 5, United States Code, and pursuant to 18 U.S.C.
 6   Section 4285.
 7
 8   Dated: November 2nd, 2011                            Respectfully submitted,
 9                                                        /s/ Christopher Haydn-Myer
                                                          CHRISTOPHER HAYDN-MYER
10                                                        Attorney for Jeremy Michael Head
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 1
                                           ORDER
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             TO: UNITED STATES MARSHAL, EASTERN DISTRICT OF CALIFORNIA.
 4           GOOD CAUSE APPEARING, AND IN THE INTERESTS OF JUSTICE, IT IS ORDERED
 5   THAT:
 6           The United States Marshal for the Eastern District of California is authorized and directed to
 7   furnish the above-named defendant, Mr. Jeremy Michael Head, with one-way transportation from Los
 8   Angeles, California to Sacramento, California on November 7, 2011, for Mr. Head’s appearance at the
 9   motion hearing on November 9, 2011 at 1:30 p.m. in the United States District Court for the Eastern
10   District of California; and subsistence not to exceed the amount authorized as a per diem allowance for
11   travel under Section 5702(a) of Title 5, United States Code; and for Mr. Head’s one-way return from

12   Sacramento, California to Los Angeles, California on November 10, 2011.

13           Mr. Head is indigent and financially unable to travel to Sacramento, California and return to Los

14   Angeles, California without transportation expenses. This request is authorized pursuant to 18 U.S.C.

15   Section 4285.

16
     IT IS SO ORDERED.
17
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     Dated: November 3, 2011.
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                                                               UNITED STATES DISTRICT JUDGE
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